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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  JULIAN BARGO, on behalf of himself and
  all others similarly situated,                       No.

                                        Plaintiff,                       Civil Action

  v.                                                   Hon.

  APPLE, INC., APPLE PAYMENTS INC.,
  GOOGLE LLC, GOOGLE PAYMENT
  CORP., HIGH 5 ENTERTAINMENT LLC
  d/b/a "HIGH 5 CASINO", MW SERVICES                          CLASS ACTION COMPLAINT
  LTD. d/b/a "WOW VEGAS",                                        AND JURY DEMAND
  SUNFLOWER LTD. d/b/a "CROWNCOINS
  CASINO", and B-TWO OPERATIONS
  LTD. d/b/a "McLUCK.COM",

                                     Defendants.

        Plaintiff JULIAN BARGO, residing in Cliffside Park, New Jersey, brings this action on

 behalf of himself and all other citizens of the State of New Jersey similarly situated (hereafter "New

 Jersey citizens") against Defendants APPLE, INC., GOOGLE LLC, HIGH 5 ENTERTAINMENT

 LLC d/b/a "HIGH 5 CASINO", B-TWO OPERATIONS LIMITED d/b/a "McLUCK.COM",

 SUNFLOWER LIMITED d/b/a "CROWNCOINS CASINO", seeking to enjoin the Defendants'

 illegal online casino operation and to recover money lost to illegal gambling pursuant to N.J.S.A.

 2A:40-1.

                                         INTRODUCTION

        1.       This case is about patently illegal gambling software being distributed to the cell

 phones, desktop computers and other personal electronic devices of individuals throughout New

 Jersey and beyond, by an unlawful enterprise that includes two of the most successful corporations

 in the world.
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        2.      Defendants HIGH 5 ENTERTAINMENT LLC ("HIGH 5"), MW SERVICES

 LTD., B-TWO OPERATIONS LTD. ("B-TWO"), and SUNFLOWER LTD. (collectively, the

 "Gaming Defendants"), along with others similarly situated, are developers and operators of

 websites and digital software applications ("apps") that resemble the customary games of chance

 (blackjack, poker, roulette, etc.) typically found in a traditional brick-and-mortar casinos.

        3.      The Gaming Defendants misleadingly describe themselves as "social casinos" to

 promote the deception that their websites and apps are free to play purely for entertainment

 purposes only. In reality, the Gaming Defendants throw a wild card into the deck: They

 simultaneously promote sweepstakes awards that effectively transform their supposedly free

 "social casino" apps and websites into an unauthorized, and unlawful, interstate gambling

 enterprise, in all but name.

        4.      The Gaming Defendants operate a slew of websites and apps with fanciful names

 that evoke casino enterprises, like "High 5 Casino" (Defendant HIGH 5), "McLuck" (Defendant

 B-TWO), "Wow Vegas" (Defendant MW SERVICES) and "CrownCoins Casino" (Defendant

 SUNFLOWER). The Gaming Defendants offer a multitude of digital slot machines, blackjack,

 poker, roulette and other forms of lottery wheel.

        5.      Besides the websites operated by the Gaming Defendants themselves, their games

 are available through apps that can be downloaded from the well-known software application

 platforms owned and operated by Defendants APPLE (the "App Store") and GOOGLE (the "Play

 Store") to any personal electronic device running on either company's respective operating system.

        6.      The Gaming Defendants have engaged in a substantially similar, if not identical,

 pattern of fraud and misconduct. They entice individuals, such as the Plaintiff and other members

 of the proposed class, to their websites and apps by fraudulently representing that they provide


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 free games of chance designed purely for fun and entertainment. Plaintiffs have discovered—but

 only after each losing thousands of dollars—that the Gaming Defendants' social casinos are in

 fact real casinos, where real money can be wagered and lost in exchange for the chance to win an

 arbitrary financial reward.

         7.      Players either sign up on the websites operated by the Gaming Defendants, or, more

 commonly, download to their iOS and Android devices (i.e., cell phones, tablets and other personal

 electronic devices) a corresponding app designed by the Gaming Defendants from either the App

 Store or Play Store, respectively. After the player agrees to the terms and conditions—which

 include a plethora of hold harmless clauses and an ironclad arbitration agreement—the Gaming

 Defendants sell to the player, in exchange for real money, virtual utility tokens that can be used to

 wager on the digital games of chance described at ¶ 2, supra.

         8.      But the scheme does not end there. While the utility tokens sold by the Gaming

 Defendants have no value outside the platform itself, and are primarily used only to play the digital

 games of chance, the Gaming Defendants simultaneously throw in a second class of virtual tokens

 that qualifies the user for sweepstakes prizes. These coins are ultimately redeemable for real value,

 like cash, gift cards, cryptocurrency (including Bitcoin), etc.

         9.      In sum, the websites and apps owned and operated by the Gaming Defendants allow

 users to purchase virtual coins, typically called "Game Coins", "Gold Coins" or the like, that can

 be used to play in their digital casinos; and in return for playing, the Gaming Defendants distribute

 a secondary class of virtual currency, typically called "Sweeps Coins", "Sweepstakes Coins" or

 the like, that offer users the prospect of an arbitrary financial windfall, just like a traditional brick-

 and-mortar casino.

         10.     The Gaming Defendants have succeeded in misleading regulators about the true


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 nature of their operations for far too long. These Defendants are not licensed casinos. They are not

 regulated by any casino regulator as a traditional casino would be. No one is looking over anyone's

 shoulder to ensure that the digital dice aren't loaded. And the Gaming Defendants have, thus far,

 managed to entirely insulate themselves from civil liability by hiding behind an iron curtain of

 bizarre arbitration agreements, many of which require arbitration in far flung locales like Malta,

 the Isle of Man, etc.

        11.     Defendants APPLE, GOOGLE, APPLE PAYMENTS and GOOGLE PAYMENT

 CORP. (collectively, the "App Defendants") willingly assist, promote and profit from this illegal

 scheme by, inter alia: (1) offering users access to the apps designed by the Gaming Defendants

 through APPLE's App Store and GOOGLE's Play Store, thereby helping the Gaming Defendants

 turn their customer's cell phones, iPads and tablets into illegal gambling devices and/or slot

 machines, as those terms are defined at N.J.S.A. § 2C:37-1; (2) taking a substantial percentage of

 consumer purchases of Game Coins, Sweeps Coins and other transactions within the apps

 distributed by the Gaming Defendants through the App Store or Play Store, respectively; and (3)

 processing illicit transactions between consumers and the Gaming Defendants using their

 proprietary payment systems, viz., APPLE PAYMENTS' Apple Pay and GOOGLE PAYMENT's

 Google Pay; and (4) by using search algorithms within GOOGLE's Chrome browser and APPLE's

 Safari browser to shepherd unwitting customers to the Gaming Defendants' websites and apps,

 thereby facilitating the Gaming Defendants' unlawful gambling enterprise.

                                             PARTIES

        12.     Plaintiff JULIAN BARGO is an adult citizen of New Jersey, residing in Bergen

 County. Plaintiff has lost well over $1,000 to Defendants' illegal online gambling operations.

        13.     Defendant APPLE, INC. (hereinafter, "APPLE") is a corporation organized and


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 existing under the laws of California, with its principal place of business in Cupertino, California.

 APPLE owns and operates the "App Store," a platform widely available to users of APPLE's iOS

 devices (e.g., iPhones and iPads) and others, through which they can download and obtain access

 to the illegal casino websites owned and operated by the GAMING Defendants, thereby turning

 their phone or other device into an instrument used in the Defendants' illegal gambling scheme.

 APPLE does business by registered agent within the venue of this District and throughout New

 Jersey generally.

        14.     Defendant APPLE PAYMENTS INC. is a Delaware corporation and licensed

 money transmitter with its principal place of business in Austin, Texas. APPLE PAYMENTS is a

 wholly owned subsidiary of Defendant APPLE. APPLE PAYMENTS provides payment

 processing services to various websites and other digital businesses, primarily through their digital

 wallet known as the "Apple Wallet" using payment systems known as "Apple Pay" and "Apple

 Cash". APPLE PAYMENTS processes purchases made by customers who download the Gaming

 Defendants' apps from APPLE's App Store as well as purchases made within the Gaming

 Defendants' apps and websites ("in-app purchases"). Upon information and belief, APPLE

 PAYMENTS collects commissions as high as 30% on purchases using Apple Pay or Apple Cash.

 APPLE PAYMENTS does business by registered agent within the venue of this District and

 throughout New Jersey generally.

        15.     Defendant GOOGLE LLC (hereinafter, "GOOGLE") is a corporation organized

 and existing under the laws of California, with its principal place of business in Mountain View,

 California. GOOGLE owns and operates the "Play Store", a platform widely available to users of

 GOOGLE's Android phones and others, through which they can download and obtain access to

 the illegal casino websites owned and operated by the GAMING Defendants, thereby turning their



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 phone or other device into an instrument used in the Defendants' illegal gambling scheme.

 GOOGLE does business by registered agent within the venue of this District and throughout New

 Jersey generally.

        16.     Defendant GOOGLE PAYMENT CORP. is a Delaware corporation and licensed

 money transmitter with its principal place of business in Mountain View, California. GOOGLE

 PAYMENT is a subsidiary of Defendant GOOGLE and therefore owned by Alphabet, Inc.

 GOOGLE PAYMENT provides payment processing services to various websites and other digital

 businesses, primarily through a digital wallet and payment system known as "Google Pay" (a/k/a

 "GPay"). GOOGLE PAYMENT processes purchases made by customers who download the

 Gaming Defendants' apps from GOOGLE's Play Store as well as in-app purchases made within

 the Gaming Defendants' apps and websites. Upon information and belief, GOOGLE PAYMENT

 collects commissions as high as 30% on purchases using GPay. GOOGLE PAYMENT does

 business by registered agent within the venue of this District and throughout New Jersey generally.

        17.     Defendant HIGH 5 ENTERTAINMENT, LLC ("HIGH 5") is a New Jersey limited

 liability company that owns and operates an internet gambling website (available at

 https://high5casino.com), along with an app and YouTube channel, under the brand "High 5

 Casino". HIGH 5 actively operates and promotes its internet gambling website and app within the

 venue of this District and throughout New Jersey generally, which website, app and affiliated

 operations are not permitted and are illegal under New Jersey law.

        18.     Defendant MW SERVICES LTD. is a company formed in Gibraltar that owns and

 operates a gambling website (available at https://www.wowvegas.com/) and app under the brand

 "Wow Vegas". MW SERVICES conducts business within the venue of this District and throughout

 New Jersey generally, which website, apps and operations are not permitted and are illegal under



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 New Jersey law.

        19.     Defendant SUNFLOWER LTD. is a company of unknown origin with a business

 address in Arlington, Virginia. SUNFLOWER owns and operates an internet gambling website

 (available at https://crowncoins.com), along with an app and YouTube channel, under the brand

 "CrownCoins Casino." SUNFLOWER actively operates and promotes its internet gambling website

 and app within the venue of this District and throughout New Jersey generally, which websites and

 operations are not permitted and are illegal under New Jersey law.

        20.     Defendant B-TWO OPERATIONS LTD. (hereinafter, "B-TWO") is a company

 formed in the Isle of Man. B-TWO conducts business within the venue of this District and

 throughout New Jersey generally, which websites and operations are not permitted and are illegal

 under New Jersey law.



                                  JURISDICTION AND VENUE

        21.     Federal subject-matter jurisdiction exists under 28 U.S.C. § 1332(d)(2) because (a)

 at least one member of the class is a citizen of a state different from any of the Defendants, (b) the

 amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of the

 exceptions under that subsection apply to this action.

        22.     This Court has personal jurisdiction over the Defendants because each of the

 Defendants conducts significant business in this federal district and throughout New Jersey, and

 because the wrongful conduct alleged by the Plaintiff occurred here in this federal district.

        23.     Venue is proper in this federal district under 28 U.S.C. § 1391(b) because a

 substantial part of the events giving rise to Plaintiff's claims occurred in this federal district and

 because the Defendants committed the acts that are the basis for this lawsuit within this federal




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 district.

                                    FACTUAL ALLEGATIONS

 I. The ‘Sweepstakes Casino' Model

         24.     The Gaming Defendants actively promote and operate internet gambling websites

 and downloadable apps that target citizens of New Jersey and elsewhere, thereby conducting

 business within the venue of this District and throughout New Jersey generally.

         25.     The Gaming Defendants entice individuals like the Plaintiff and proposed class

 members to play their websites and downloadable apps by issuing a bundle of virtual utility tokens,

 typically called "Game Coins" or the like, that can be used to play their digital games of chance

 ostensibly for fun and entertainment. After the customers inevitably lose their initial allotment of

 'free' Game Coins, they are prompted to purchase more if they wish to continue playing the

 Defendants' games.

         26.     As the user continues playing, the Gaming Defendants also provide an allotment

 of sweepstakes tokens, typically called "Sweeps Coins", "Sweepstakes Coins" or something

 similar.1 Players continue wagering on the Defendants' games of chance in the hopes of winning

 enough Sweeps Coins to redeem them for valuable prizes like cash, gift cards, or cryptocurrency

 (including Bitcoin), inter alia.

         27.     In short, what begins as a straightforward "pay to play" social casino quickly

 morphs into an illicit gambling site, where users are paying real money to play games of chance

 in the hopes of winning an arbitrary financial windfall. The sale of Game Coins is simply a pretext


 1
   High 5 Casino (Defendant HIGH 5) refers to their utility tokens as Game Coins and their
 sweepstakes tokens as Sweeps Coins. CrownCoins Casino (Defendant SUNFLOWER) uses the
 monikers Crown Coins and Sweeps Coins, respectively. Wow Vegas (Defendant MW
 SERVICES) uses Wow Coins and Sweep Coins, respectively. McLuck.com (Defendant B-TWO)
 refers to them as Gold Coins and Sweepstakes Coins, respectively. These are just a sample of the
 various denominations used by sweepstakes casino websites.


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 to entice users to win Sweeps Coins, in what amounts to an unlawful, unauthorized casino—the

 exact type of illicit gambling operation prohibited by state and federal law.

        28.     By awarding sweepstakes tokens that have real value, the Gaming Defendants'

 websites and apps—deceptively marketed to the public as harmless 'social' casinos—are, for all

 intents and purposes, unlawful Internet casinos operating throughout New Jersey and elsewhere,

 without any authorization to do so. The only difference between the virtual casinos owned and

 operated by the Gaming Defendants, and the websites owned and operated by traditional brick-

 and-mortar casinos, is that the latter are licensed businesses, heavily regulated to ensure that they

 pay when the player wins and the house loses. The Gaming Defendants are not licensed, not

 regulated, and as the Plaintiff and other class members have come to learn time and time again,

 the Gaming Defendants only pay as, when, and if they choose to do so.

        29.     Notably, while marketing themselves as 'social casinos' for fun and entertainment,

 the Gaming Defendants go so far as to make false representations about enforcing self-exclusion

 policies to protect against gambling addiction. But because these Gaming Defendants are not

 licensed casinos, and are not beholden to any casino regulator—like New Jersey's Casino Control

 Commission—there is no way to ensure that they will honor any self-exclusion request from an

 addicted user, or otherwise enforce any of their purported 'self-exclusion' policies.

 II. The Example of Defendant HIGH 5

        30.     Defendant HIGH 5 controls and operates High 5 Casino, with an affiliated app

 available through both APPLE's App Store and GOOGLE's Play Store. High 5 Casino offers

 traditional games of chance like blackjack and roulette, along with a plethora of digital slot

 machines. The user interface on High 5 Casino is largely identical to the games of chance that may




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  be found in traditional brick-and-mortar casinos (fig's 1-2):




    fig. 1




  fig. 2

           31.   Just like in a real casino, the outcome of HIGH 5's games of chance are purportedly

  determined at random. Once a user enters a wager on a particular game (e.g., blackjack or slots),




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  the website or app being used displays a result determined by the algorithms contained in HIGH

  5's software. But the outcome and odds of winning are determined by algorithmic code (known as

  a "random number generator") devised by Defendant HIGH 5.

         32.     The other Gaming Defendants follow the same model as Defendant HIGH 5, with

  only slight, and ultimately immaterial, variations.

  III. How the Gaming Defendants Camouflage their Illegal Gambling Racket

         33.     Defendant HIGH 5 and the other Gaming Defendants camouflage their illegal

  gambling operations by promoting a two-tiered system of virtual currency used to play their games.

  To play the games of chance offered by the Gaming Defendants, users like Plaintiffs choose

  between wagering what High 5 Casino calls 'Game Coins'—utility tokens that, by themselves,

  have no value outside the virtual casino—or 'Sweeps Coins', which may in fact be redeemed for

  real value.

         34.     When users like the Plaintiff first sign up, they are awarded an initial allotment of

  free Game Coins and a smaller number of Sweeps Coins (along with 'Diamonds', another form of

  non-redeemable utility token unique to High 5 Casino). Users also receive a daily bonus of Sweeps

  Coins, which they soon discover they can "redeem for real prizes", along with a bonus of Game

  Coins and Diamonds every four hours to incentivize continuous play (figs. 3-4, where 'GC' refers

  to Game Coins and 'SC' refers to Sweeps Coins):




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  fig. 3




  fig. 4



           35.   Defendant HIGH 5 repeatedly states to the Plaintiffs and other users of its website

  that their Sweeps Coins are, in fact, redeemable for cash and other valuable prizes (figs. 5-6):



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  fig. 5 (available at https://high5casino.com/)




  fig. 6 (available at https://high5casino.com/helpcenter/how-to-redeem-real-cash-prizes/)

         36.    Users typically lose their initial allotment of Game Coins soon after they begin

  playing. As with a traditional brick-and-mortar casino, the longer a user plays, the more likely

  they will "bust" and run out of the Game Coins needed to continue playing—but unlike a properly

  licensed casino, the Gaming Defendants are not subject to any regulatory oversight as to the odds

  of winning.

         37.    After their initial bankroll of Game Coins is gone, users can either replenish their

  account by either cashing in a Sweeps Coin, or by purchasing additional Game Coins in the hope

  of eventually redeeming their allotment of Sweeps Coins for real value.

         38.    Despite HIGH 5's endless assurances, prominently displayed on their website and

  elsewhere, that High 5 Casino is "always free", the Defendant offers multiple options to purchase

  packages of Game Coins that include Sweeps Coins thrown in as a bonus (fig. 7, infra, where

  again, 'GC' refers to Game Coins and 'SC' refers to Sweeps Coins):




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  fig. 7



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          39.     Despite the representations alluded to in ¶36, supra, Defendant HIGH 5 gladly

  accepts U.S. dollars in exchange for Game Coins through a variety of payment methods, including,

  but not limited to, debit cards, credit cards, bank transfers, gift cards and digital wallet transactions

  (fig. 8). Other Gaming Defendants accept payment through proprietary payments systems owned

  and operated by Defendants GOOGLE PAYMENT CORP. and APPLE PAYMENTS, viz., GPay

  and Apple Pay, respectively (fig. 9-10):




  fig. 8 (High 5 Casino)




  fig. 9 (CrownCoins Casino)




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      fig. 10 (Wow Vegas)

            40.     Like the other Gaming Defendants, HIGH 5 allows the user to seamlessly toggle

  between play in either standard mode, using Game Coins, or in sweepstakes mode, using Sweeps

  Coins. An example of the toggle button between the two modes of play in High 5 Casino appears

  below, where 'GC' refers to the player's amount of Game Coins and 'SC' refers to the amount of

  Sweeps Coins (figs. 11-12, again, where 'GC' refers to the player's amount of Game Coins and 'SC'

  refers to the amount of Sweeps Coins ):




  fig. 11




  fig. 12

            41.     Incredibly, High 5 Casino's website includes a helpful reminder,2 exhorting players

  to "set a monthly entertainment budget" on their ostensibly free gaming platform, cautionary

  language that belies Defendant HIGH 5's ad nauseum representations that their games are free to

  play (fig. 13):




  2
      Available at https://high5casino.com/blog/smart-budgeting-tips-for-sweepstakes-casinos/.


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  fig. 13

            42.   Ultimately, Plaintiff and other users of Defendant HIGH 5's websites and apps

  (available through both APPLE's App Store and GOOGLE's Play Store) have been lured to wager

  Game Coins they purchase from the Defendant in the hopes of earning Sweeps Coins that can be

  redeemed for value. Playing games of chance on HIGH 5's website, or by downloading HIGH 5's

  app to a personal electronic device like a cell phone or tablet, satisfies New Jersey's statutory

  definition of "gambling", and renders the device a "gambling device" or "slot machine" as those

  terms are defined at N.J.S.A. § 2C:37-1.

  IV. HIGH 5 and the Gaming Defendants' False Marketing

            43.   The Gaming Defendants—after endless assurances that their games of chance are

  legal and for entertainment only—use a network of paid influencers and misleading customers

  testimonials to promote their unlawful scheme. In addition to its High 5 Casino website and app,

  Defendant HIGH 5 operates a YouTube Channel, @High5Casino, brazenly promoting the idea

  that users can win real money by playing their games and winning Sweeps Coins. "YouTube" is

  an online video platform owned and operated by Defendant GOOGLE.




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            44.   Advertisements on the High 5 Casino website and YouTube channel include

  Internet influencers holding over-sized checks to emphasize that users can win big money playing

  games of chance on High 5 Casino (fig. 14):




  fig. 14

            45.   The Gaming Defendants' not-so-subtle marketing campaigns, broadcasting the

  potential of winning real money on their websites and apps, amount to an astounding admission:

  Defendant HIGH 5 and other Gaming Defendants are carrying on an illicit gambling enterprise,

  with the full cooperation of the App Defendants, in violation of the laws of numerous states and

  federal law against unlawful interstate gambling.

            46.   Nevertheless, HIGH 5 and other Gaming Defendants knowingly, willfully, and

  prominently advertise the falsehood that their sites are operating legally in New Jersey and

  throughout the United States, a claim abetted by the App Defendants, who facilitate the distribution

  and promotion of the Gaming Defendants' illicit gambling enterprise.




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  V. The Gaming Defendants' False Promises About Redeeming Sweeps Coins

         47.     Like the other Gaming Defendants, Defendant HIGH 5 promises that Sweeps Coins

  won on High 5 Casino are redeemable for cash and other valuable prizes. Instead, Plaintiffs and

  the other members of the class soon discover they've been defrauded.

         48.     Internet chat forums like Reddit are rife with tales similar to that of Plaintiff

  JULIAN BARGO's: Players who try to cash out their winnings from High 5 Casino and other

  apps and websites operated by the Gaming Defendants discover, albeit too late, that the redemption

  process is a classic "bait and switch": Defendant HIGH 5 and the other Gaming Defendants rarely,

  if ever, redeem any of the Sweeps Coins for any kind of real value.

         49.     The Gaming Defendants typically reject requests by players to redeem their Sweeps

  Coins for money or other value, for arbitrary and largely contrived reasons. The tactics used by

  Defendant HIGH 5 and other Gaming Defendants to prevent users from redeeming their Sweeps

  Coins reveal that the Gaming Defendants are not just running an illegal, unlicensed casino—they

  are also operating a patent fraud.

         50.     Because the Gaming Defendants are operating real casino gambling operations,

  while not beholden to any of the regulators (like New Jersey's Casino Control Commission) who

  oversee the operations of traditional casinos, there is no way to ensure that the Gaming Defendants

  honor any of their promises.

  VI. Losses to the Plaintiff Class Amount to Hundreds of Millions of Dollars

         51.     The Gaming Defendants' illegal gambling operations have been extremely lucrative

  for them, while driving many victims of their scheme to financial ruin.

         52.     Upon information and belief, there are at least a dozen copycat websites,3


  3
   Others include Chumba Casino, LuckyLand Slots, Global Poker, Stake.us, Pulsz Casino,
  Chanced Casino, Funrize Casino, Hello Millions Casino, Punt Casino, Fortune Coins Casino,


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  suggesting that the losses suffered by the proposed class run into the hundreds of millions of

  dollars—and a substantial portion of those losses accrue to New Jersey residents, like Plaintiff

  JULIAN BARGO and the members of the proposed class.

         53.     Upon information and belief, Defendant HIGH 5 and the other Gaming Defendants

  maintain detailed records of every individual player's identity, individualized data about their

  purchase history, their redemption history, and every single wager they make. HIGH 5 and the

  other Gaming Defendants therefore maintain sufficient records to calculate and reveal the losses

  sustained by Plaintiff JULIAN and other members of the proposed class.

  VII. The Role of the App Defendants

         54.     The promotion and distribution of the Gaming Defendants apps through

  GOOGLE's Play Store and APPLE's App Store to users of Android and iOS devices, respectively,

  is crucial to the furtherance of Defendants' illicit, interstate gambling scheme.

         55.     GOOGLE and APPLE maintain near absolute control over their respective

  application platforms. Upon information and belief, the App Defendants each take up to 30% of

  all revenues generated by app sales through the Play Store and the App Store, including in-app

  purchases made by a consumer after initially downloading the app. Thousands of software

  developers make applications for Android devices and iOS devices available for download

  exclusively through GOOGLE's Play Store and APPLE's App Store, respectively.

         56.     While most of the apps developed by the Gaming Defendants are free to download,

  their unsuspecting victims are then lured to make in-app purchases of Game Coins and the like

  within the app itself, typically using either a credit or debit card. In addition to the revenues

  described in the foregoing ¶55, the App Defendants take up to 30% of any in-app purchases made


  Zula Casino, Moonspin Casino, Jackpota Casino, Scrooge Casino, and more. This is by no
  means and exhaustive list.


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  by a consumer after the initial download to their personal device.

          57.     Moreover, the App Defendants compound their participation in the Gaming

  Defendants' illicit enterprise by offering consumers the option to pay using their proprietary

  payment processing services, Google Pay (GOOGLE) and Apple Pay (APPLE). Upon information

  and belief, GOOGLE PAYMENT CORP. and APPLE PAYMENTS take a substantial commission

  for each purchase of Game Coins or similar tokens using Google Pay or Apple Pay, respectively.

          58.     The App Defendants are under a contractual obligation to remit the balance (70%)

  of the user's payment for apps and in-app purchases to the developers of the software, viz., the

  Gaming Defendants. However, payments made by Plaintiffs and others to the Gaming Defendants

  using Google Pay or Apple Pay are remitted directly to GOOGLE PAYMENT or APPLE

  PAYMENTS, respectively.

          59.     The App Defendants, which include the payment subsidiaries of two of the most

  valuable tech companies in the world, are thus directly profiting from the Gaming Defendants'

  illegal interstate gambling enterprise. Plaintiffs seek to enjoin the App Defendants from further

  participating in, promoting, or facilitating the Gaming Defendants' unlawful interstate gambling

  enterprise.

          60.     The App Defendants' control over their respective platforms means they can decide

  which apps are available for download to users of Android and iOS devices. Despite numerous

  complaints from users and others that should have long ago put GOOGLE and APPLE on notice

  that the Gaming Defendants are operating as unlicensed, illegal casinos throughout the country,

  they have failed to exclude the Gaming Defendants from their application platforms or otherwise

  do anything to restrict access to the Gaming Defendants' software, but are instead knowingly and

  willfully facilitating its distribution.




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         61.     In other words, despite knowing that the Gaming Defendants' websites and apps

  are illegal, the App Defendants continue to maintain a sizable (30%) financial interest by hosting

  their apps on the GOOGLE's App Store and APPLE's Play Store; using search algorithms to drive

  customers to the Gaming Defendants apps and websites; and in many instances, processing

  payments on behalf of the Gaming Defendants.

         62.     As such, the App Defendants, along with the Gaming Defendants, are all liable as

  co-conspirators to an illegal gambling enterprise. Moreover, the Gaming Defendants named

  herein, are just several of a dozen or more sweepstakes casinos that the App Defendants illegally

  host on their App Store (APPLE) and Play Store (GOOGLE) and thereby distribute to unwitting

  consumers.

         63.     The App Defendants, for their part, directly participate in an informal association

  and enterprise of individuals and entities with the explicit purpose of knowingly devising and

  operating an online gambling scheme to exploit consumers and reap hundreds of millions of dollars

  in profits (the "Sweepstakes Casino Enterprise").

         64.     This ongoing Enterprise necessarily promotes the success of each of its members:

  the Gaming Defendants need the App Defendants to access consumers, distribute their illegal

  gambling software, and process payments. The App Defendants, for their part, need developers

  like the Gaming Defendants to publish and market the misleading and pernicious software

  applications on their App Store (APPLE) and Play Store (GOOGLE) to distribute the illegal

  gambling software to generate massive revenue streams for all parties to the Enterprise.

         65.     Through this case, Plaintiff and the proposed class members seek to force the App

  Defendants to stop facilitating and participating in the Sweepstakes Casino Enterprise, and to

  return to consumers the money they have illegally obtained therefrom.




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         66.    Plaintiff, on behalf of himself and the proposed class members, brings claims for

  damages and injunctive relief under the Racketeer Influenced and Corrupt Organizations Act, 18

  U.S.C. § 1961, et seq. ("RICO"), and New Jersey's Consumer Fraud Act, N.J.S.A. 56:8-2 et seq.

  ("CFA").

                     FACTS SPECIFIC TO PLAINTIFF JULIAN BARGO

         67.    Plaintiff JULIAN BARGO is a natural person and citizen of New Jersey who

  resides in Bergen County, New Jersey at all times material to this Complaint.

         68.    Between June 2024 and October 2024, Plaintiff registered with and used the

  following sweepstakes casino websites: High 5 Casino (available at https://high5casino.com), a

  casino website owned and operated by Defendant HIGH 5, which offers the chance to win

  sweepstakes prizes by accumulating ostensibly redeemable Sweeps Coins as outlined in ¶¶'s 24-

  50, supra; CrownCoins Casino (available at https://crowncoinscasino.com), a casino website

  owned and operated by Defendant SUNFLOWER, which offers the chance to win sweepstakes

  prizes by accumulating ostensibly redeemable Sweeps Coins, similar to the website operated by

  Defendant HIGH 5; Wow Vegas (available at https://www.wowvegas.com/), a casino website

  owned and operated by Defendant MW SERVICES, which offers the chance to win sweepstakes

  prizes by accumulating ostensibly redeemable Sweeps Coins similar to the website operated by

  Defendant HIGH 5; and McLuck.com (available at https://www.mcluck.com/home), a casino

  website owned and operated by Defendant B-TWO, which offers the chance to win sweepstakes

  prizes by accumulating ostensibly redeemable Sweeps Coins similar to the website operated by

  Defendant HIGH 5.

         69.    Plaintiff downloaded the apps owned and operated by the Gaming Defendants to

  his iPhone from APPLE's App Store. Plaintiff purchased Game Coins from the Gaming




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  Defendants using Apple Pay (owned and operated by Defendant APPLE PAYMENTS) which he

  then wagered on his iPhone for the chance to earn Sweeps Coins, which the Gaming Defendants

  represented to him and others as redeemable for value.

         70.     Plaintiff has standing to bring this action because Plaintiff was damaged by the

  illegal gambling enterprise conducted by the Gaming Defendants in conjunction with the App

  Defendants. Most, if not all, of Plaintiff BARGO's losses were sustained by playing the games of

  chance operated by the Gaming Defendants as described in ¶68 and distributed and made available

  to him with the knowing assistance of one or more of the App Defendants.

         71.     During the relevant period described in ¶68, Plaintiff lost well over $1,000 playing

  the unlawful games of chance promoted and operated by the Gaming Defendants named therein,

  whose scheme is substantially identical to that described in ¶¶24-50 supra and who were materially

  assisted by the App Defendants as described in ¶¶54-64, supra.

                                     CLASS ALLEGATIONS

         72.     Class Definition: Plaintiff JULIAN BARGO brings this action pursuant to Fed.

  R. Civ. P. 23(b)(2) and (b)(3) on behalf of himself and a Class of similarly situated individuals,

  defined as follows:

         All persons in the State of New Jersey who purchased and lost money by wagering
         in any online sweepstakes casino owned and operated by the Gaming Defendants
         with the assistance and participation of one or more of the App Defendants.

         73.     The following people are excluded from the Class: (1) any Judge or Magistrate

  presiding over this action and members of their families; (2) Defendants, Defendants' subsidiaries,

  parents, successors, and any entity in which the Defendants or its parents have a controlling

  interests and its current or former employees, officers and directors; (3) persons who properly

  execute and file a timely request for exclusion from the class; (4) Plaintiff's counsel and




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  Defendants' counsel; and (6) the legal representatives, successors, and assigns of any such

  excluded persons.

         74.     Numerosity: Upon information and belief, tens of thousands of New Jersey

  residents fall into the definition of the Class. Members of the Class can be identified through

  Defendants' records, discovery, and other third-party sources.

         75.     Commonality and Predominance: There are many questions of law and fact

  common to Plaintiff and the Class's claims, and those questions predominate over any questions

  that may affect individual members of the Class. Common questions for the Class include, but are

  not necessarily limited to, the following:

               a. Whether the games offered by the Gaming Defendants are "gambling" as defined

                   at N.J.S.A. § 2C:37-1(b);

               b. Whether downloading the apps developed by the Gaming Defendants from a

                   platform controlled by the App Defendants renders the phone, tablet or other

                   personal electronic device to which it is downloaded a "gambling device" or "slot

                   machine" as defined at N.J.S.A. § 2C:37-1(e) and (f), respectively;

               c. Whether Plaintiff and each member of the Class lost money or anything of value

                   by playing the games of chance developed by the Gaming Defendants and

                   promoted by the App Defendants;

               d. Whether Defendants violated the New Jersey Consumer Fraud Act, N.J.S.A.

                   56:8-2 et seq.;

               e. Whether Defendants have violated the federal RICO Act, 18 U.S.C. § 1962(c);

               f. Whether the Defendants have been unjustly enriched by their misconduct;

               g. Alternatively, whether the Gaming Defendants have breached their implied




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                     covenants of good faith and fair dealing with a class of consumers;

                  h. Alternatively, whether the Defendants are liable to the Plaintiffs for common law

                     fraud.

          76.      Typicality: Plaintiff's claims are typical of the claims of other members of the Class

  in that Plaintiff and the other members of the Class sustained damages arising from the wrongdoing

  of the Defendants.

          77.      Adequate Representation: Plaintiff will fairly and adequately protect the interests

  of the Class, which is estimated to consist of numerous New Jersey citizens. Plaintiff has retained

  counsel competent and experienced in complex litigation and class actions. Plaintiff's claims are

  representative of the claims of the other members of the Class, as Plaintiff and each member of the

  Class has lost money playing the games of chance provided by the Gaming Defendants through an

  app made available to them on the App Store or Play Store controlled by Defendants APPLE and

  GOOGLE, respectively. Plaintiff and his counsel intend to vigorously prosecute this action on

  behalf of the Class and have the financial resources to do so. Neither Plaintiff nor his counsel have

  any interests that are antagonistic to those of the Class, and Defendants have no defenses unique

  to Plaintiff.

          78.      Policies Generally Applicable to the Class: This class action is appropriate for

  certification because Defendants have acted or refused to act on grounds generally applicable to

  the Class as a whole, thereby requiring the Court's imposition of uniform relief to ensure

  compatible standards of conduct toward the members of the Class and making final injunctive

  relief appropriate with respect to the Class as a whole. Defendants' misconduct and malfeasance

  that Plaintiff challenges apply and affect members of the Class uniformly, and Plaintiff's challenge

  of Defendants' misconduct and malfeasance hinges on Defendants' conduct with respect to the




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  Class as a whole, not on facts or law applicable only to Plaintiff. The factual and legal bases of the

  Defendants' liability to Plaintiff and to the other members of the Class are the same.

         79.     Superiority: This case is also appropriate for certification because class

  proceedings are superior to all other available methods for the fair and efficient adjudication of

  this controversy. The harm suffered by the individual members of the Class is likely to have been

  relatively small compared to the burden and expense of prosecuting individual actions to redress

  Defendants' wrongful conduct. Absent a class action, it would be difficult if not impossible for the

  individual members of the Class to obtain effective relief from Defendants. Even if members of

  the Class themselves could sustain such individual litigation, it would not be preferable to a class

  action because individual litigation would increase the delay and expense to all parties and the

  Court and require duplicative consideration of the legal and factual issues presented. By contrast,

  a class action presents far fewer management difficulties and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single Court. Class

  certification in this matter will foster economies of time, effort, and expense, and will ensure

  uniformity of decisions and avoid the danger of inconsistent or contradictory judgments arising

  from the same or substantially similar sets of facts.

         80.     Subject to additional information obtained through further investigation and

  discovery, the foregoing definition of the Class may be expanded or narrowed by amendment or

  amended complaint.

                                   FIRST CAUSE OF ACTION
                                   Violations of N.J.S.A. 2A:40-1
                                (On behalf of Plaintiff and the Class)

         81.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.

         82.     Plaintiff, members of the Class, and Defendants are all "persons" as defined by




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  N.J.S.A. 2A:40-1.

         83.     New Jersey's gaming loss recovery statute, N.J.S.A. 2A:40-5, provides as follows:

         If any person shall lose any money, goods, chattels or other valuable thing, in
         violation of section 2A:40-1 of this title [illegal gaming], and shall pay or deliver
         the same or any part thereof to the winner, or to any person to his use, or to a
         stakeholder, such person may sue for and recover such money, or the value of such
         goods, chattels, or other valuable thing, from such winner, or from such depositary,
         or from such stakeholder, whether the same has been delivered or paid over by such
         stakeholder or not, in a civil action provided such action is brought within 6
         calendar months after payment or delivery.

         84.     Gaming, as defined at N.J.S.A. 2A:40-1, means "[a]ll wagers, bets or stakes made

  to depend upon any race or game, or upon any gaming by lot or chance, or upon any lot, chance,

  casualty or unknown or contingent event." Gambling is separately defined at N.J.S.A. 2C:37-1(b),

  "means staking or risking something of value upon the outcome of a contest of chance or a future

  contingent event not under the actor's control or influence, upon an agreement or understanding

  that he will receive something of value in the event of a certain outcome."

         85.     N.J.S.A. 2C:37-1(d) defines "something of value" as "any money or property, any

  token, object or article exchangeable for money or property, or any form of credit or promise

  directly or indirectly contemplating transfer of money or property or of any interest therein, or

  involving extension of a service, entertainment or a privilege of playing at a game or scheme

  without charge." The "Game Coins" and "Sweeps Coins" sold by the Gaming Defendants,

  however denoted by the specific app or website at issue, are "something of value" under N.J.S.A.

  2C:37-1(d) because they are "token[s], object[s] or article[s]" sold for use at the Gaming

  Defendants' online casinos in exchange for real money or property or "any interest therein."

         86.     The apps and websites owned and operated by the Gaming Defendants are illegal

  gambling operations under New Jersey law because they are games at which players wager

  something of value (virtual Game Coins or similar, bought and paid for with real money) and by



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  an element of chance (e.g., spinning an online slot machine) are able to obtain Sweeps Coins which

  can ostensibly be redeemed for real value, such as cash, gift cards, cryptocurrency and other prizes,

  as well as additional entertainment (for extended gameplay).

         87.     The Gaming Defendants are the proprietors for whose benefit the online gambling

  games are played because Defendant HIGH 5 ENTERTAINMENT operates High 5 Casino and/or

  knowingly derives profits therefrom; Defendant SUNFLOWER LTD. operates CrownCoins

  Casino and/or knowingly profits therefrom; B-TWO OPERATIONS LTD. operates Mcluck.com

  and/or knowingly derives profits therefrom; Defendant MW SERVICES LTD. operates Wow

  Vegas and/or knowingly derives profits therefrom.

         88.     As such, Plaintiff and the Class were lured to an illegal, unlicensed gambling

  enterprise when they purchased Game Coins to wager at the casino websites and apps owned and

  operated by the Gaming Defendants. Plaintiff and each member of the Class staked money, in the

  form of Game Coins and similar utility tokens purchased with actual U.S. currency, to play

  Defendants' games of chance (e.g., slot machines, blackjack, roulette, etc.) for the chance to win

  additional things or value (i.e., the opportunity to win Sweeps Coins and similarly denominated

  sweepstakes tokens, redeemable for cash and other valuable prizes, without additional charge).

         89.     The Sweeps Coins that Plaintiff and the Class sought to win by playing the games

  of chance offered by the Gaming Defendants are "thing[s] of value" under New Jersey law because

  the Gaming Defendants represent that they can be redeemed for cash, gift cards, cryptocurrency

  and other valuable prizes.

         90.     The casino games offered by the Gaming Defendants each meet the definition of a

  "[c]ontest of chance," as defined by N.J.S.A. 2C:37-1(a), because they are "any contest, game,

  pool, gaming scheme or gaming device in which the outcome depends in a material degree upon




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  an element of chance, notwithstanding that skill of the contestants or some other persons may also

  be a factor therein." The Gaming Defendants' games are ostensibly programmed to have outcomes

  that are determined entirely by chance, using algorithms designed to generate random numbers, so

  that a contestant's skill does not affect the outcome.

         91.     The casino games offered by the Gaming Defendants are not "electronic

  amusements" or "skill-based attractions" as those terms are used and defined at N.J.S.A. 5:8-101

  because their outcomes depend entirely upon chance and not upon the skill of the player, are not

  offered by a "recognized amusement park" as described under the Carnival-Amusement Rides

  Safety Act, N.J.S.A. 5:3-31 et seq., and because the casino games offered by the Gaming

  Defendants are illegal "contest[s] of chance" as defined at N.J.S.A. 2C:37-1(a).

         92.     As a direct and proximate result of the Gaming Defendants' operation of their illegal

  gambling websites and apps, Plaintiff JULIAN BARGO and each member of the Class have lost

  money wagering at Defendants' games of chance. Plaintiff JULIAN BARGO, on behalf of himself

  and the Class, seeks an order: (1) requiring the Gaming Defendants to cease the operation of their

  gambling apps and websites; (2) requiring the App Defendants to cease the distribution of the

  Gaming Defendants' unlawful gambling apps and websites; and (3) awarding the recovery of all

  lost monies, interest, and reasonable attorneys' fees, expenses, and costs to the extent allowable by

  law.

                                SECOND CAUSE OF ACTION
               Violations of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-2
                              (On behalf of Plaintiff and the Class)

         93.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         94.     New Jersey's Consumer Fraud Act, N.J.S.A. 56:8-1 et seq. protects both consumers

  and competitors by promoting fair business practices in commercial markets for goods and

  services.


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         95.     To achieve that goal, the CFA prohibits any person from using "any commercial

  practice that is unconscionable or abusive, deception, fraud, false pretense, false promise,

  misrepresentation . . ." N.J.S.A. 56:8-2.

         96.     The CFA states that "[a]ny person who suffers any ascertainable loss of moneys or

  property, real or personal, as a result of the use or employment by another person of any method,

  act, or practice declared unlawful under this act . . . may bring an action or assert a counterclaim

  therefor in any court of competent jurisdiction." N.J.S.A. 56:8-19.

         97.     Plaintiffs have suffered an injury-in-fact and have lost money or property as a result

  of the unlawful conduct by the Gaming Defendants and the App Defendants.

         98.     Defendants have violated N.J.S.A. 56:8-1 et seq., because the casino games owned

  and operated by the Gaming Defendants and distributed with the knowing, willful participation by

  the App Defendants, constitute illegal gambling as defined at N.J.S.A. 2C:37-1(b) and as more

  fully explained above.

         99.     Defendants' wrongful conduct occurred in the conduct of trade or commerce—i.e.,

  while Defendants were engaged in the business making computer games and other software

  applications available to the public.

         100.    Defendants' acts and practices were and are injurious to the public interest because

  Defendants, in the course of their business, continuously advertised to and solicited the general

  public in New Jersey and throughout the United States to play the unlawful games of chance owned

  and operated by the Gaming Defendants. This was part of a pattern or generalized course of

  conduct on the part of the Defendants, and many consumers have been adversely affected by

  Defendants' conduct acting in concert, and the public is at risk.

         101.    The Defendants have profited immensely from the widespread distribution of the




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  unlawful games of chance owned and operated by the Gaming Defendants, amassing hundreds of

  millions of dollars from the losers of their games of chance.

            102.   As a result of Defendants' conduct, Plaintiff and the Class members suffered

  economic injury to their business or property in that they lost money wagering on Defendants'

  unlawful games of chance.

            103.   Defendants' unfair or deceptive conduct proximately caused Plaintiffs and the Class

  members to suffer injury because, but for the challenged conduct, Plaintiff and the Class members

  would not have lost money wagering at or on the Gaming Defendants' unlawful games of chance,

  and they did so as a direct, foreseeable, and planned consequence of that conduct.

            104.   Plaintiff, on his own behalf and on behalf of the Class, seeks to enjoin further

  violation of the law and to recover actual damages and treble damages, together with the costs of

  suit, including reasonable attorneys' fees.


                                 THIRD CAUSE OF ACTION
                                  18 U.S.C. § 1962(c) (RICO)
                    Racketeering Activities and Collection of Unlawful Debts
                               (Damages and Injunctive Relief)

            105.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

  herein.

            106.   At all times relevant, each of the App Defendants (APPLE, APPLE PAYMENTS,

  GOOGLE and GOOGLE PAYMENT CORP.) and each of the Gaming Defendants (HIGH 5

  ENTERTAINMENT, MW SERVICES LTD., SUNFLOWER LTD., and B-TWO OPERATIONS

  LTD.) is and has been a "person" within the meaning of 18 U.S.C. § 1961(3), because each is

  capable of holding, and does hold, "a legal or beneficial interest in property."

            107.   Plaintiffs are each a "person," as that term is defined in 18 U.S.C. § 1961(3), and

  have standing to sue, as they were injured in their business and/or property as a result of the


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  Defendants' wrongful conduct described herein, including, but not limited to, the Gaming

  Defendants and the App Defendants (1) having unlawfully taken and received money from

  Plaintiffs and the proposed class; (2) having never provided Plaintiffs and members of the class a

  fair and objective chance to win—they could only lose by playing the games of chance owned and

  operated by the Gaming Defendants; and (3) having directly and knowingly profited from, on

  information and belief, rigged and manipulated digital slot machines, roulette wheels and other

  games of chance.

         108.    § 1962(c) makes it unlawful "for any person employed by or associated with any

  enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to conduct

  or participate, directly or indirectly, in the conduct of such enterprise's affairs through a pattern of

  racketeering activity or collection of unlawful debt." 18 U.S.C. § 1962(c).

         109.    18 U.S.C. § 1961(1) defines "racketeering activity" to include (i) "any act ...

  involving ... gambling ... which is chargeable under State law and punishable by imprisonment for

  more than one year;" (ii) any act which is indictable under Title 18, § 1084 of the U.S. Code

  (relating to the transmission of gambling information); and (iii) any act which is indictable under

  Title 18, § 1955 of the U.S. Code (relating to the prohibition of illegal gambling businesses).

         110.    Because promoting gambling as defined at N.J.S.A. 2C:37-2 is potentially

  indictable under New Jersey law, and punishable by imprisonment for more than one year per

  N.J.S.A. 2C:37-2b(2), and further because illegal gambling is indictable under both § 1084 and §

  1955 of Title 18 of the U.S. Code, the Social Enterprise is engaged in "racketeering activity."

         111.    18 U.S.C. § 1961(6) defines "unlawful debt" as a debt "(A) incurred or contracted

  in gambling activity which was in violation of the law of the United States, a State or political

  subdivision thereof," and "(B) which was incurred in connection with the business of gambling in




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  violation of the law of the United States, a State or political subdivision thereof."

         112.    Because the Sweepstakes Casino Enterprise collects debts incurred from a

  gambling activity in violation of New Jersey law, described herein, its profits derived from its

  ownership and maintenance constitute "unlawful debt" as defined in Section 1961(6).

         113.    The App Defendants violated 18 U.S.C. § 1962(c) and § 1962(d) by participating

  in, facilitating, or conducting the affairs of the Sweepstakes Casino Enterprise through a pattern of

  racketeering activity composed of indictable offenses under N.J.S.A. 2C:37-1 et seq.

         114.    The affiliation between the App Defendants and the Gaming Defendants constitutes

  a conspiracy to use an enterprise for the collection of unlawful debt in violation of 18 U.S.C. §

  1962(d).

  I. The Sweepstakes Casino Enterprise

         115.    RICO defines an enterprise as "any individual, partnership, corporation,

  association, or other legal entity, and any union or group of individuals associated in fact although

  not a legal entity." 18 U.S.C. § 1961(4).

         116.    Under 18 U.S.C. § 1961(4) a RICO "enterprise" may be an association-in-fact that,

  although it has no formal legal structure, has (i) a common purpose, (ii) relationships among those

  associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise's purpose. See,

  e.g., Boyle v. United States, 556 U.S. 938, 946 (2009).

         117.    The Sweepstakes Casino Enterprise is an association-in-fact composed of the App

  Defendants (APPLE, APPLE PAYMENTS, GOOGLE, GOOGLE PAYMENT CORP.) and the

  Gaming Defendants (HIGH 5 ENTERTAINMENT, MW SERVICES LTD., SUNFLOWER

  LTD., and B-TWO OPERATIONS LTD.) who are engaged in, and whose activities affect,

  interstate commerce, and which have affected and damaged interstate commercial activity. This




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  Enterprise exists separately from the otherwise legitimate businesses operations of each individual

  participant.

         118.    The pattern of racketeering activity conducted by the members of the Sweepstakes

  Casino Enterprise is distinct from the Sweepstakes Casino Enterprise itself, as each act of

  racketeering is a separate offense committed by an entity while the Sweepstakes Casino Enterprise

  itself is an association-in-fact of legal entities. The Sweepstakes Casino Enterprise has an informal

  structure of app developers and platforms with continuing functions or responsibilities.

         119.    For nearly a decade, the members of the Sweepstakes Casino Enterprise have

  collaborated together to target and retain high-spending users in their online gambling scheme

  throughout the country. The App Defendants, upon information and belief, have mutually agreed

  to continue their Enterprise through their ongoing collection of unlawful debts, functioning as a

  cohesive unit with the purpose of gaining illicit gambling profits.

  II. The Structure of the Sweepstakes Casino Enterprise

         120.    The Sweepstakes Casino Enterprise consists of the Gaming Defendants and the App

  Defendants. Each participant agreed to conduct and carry out the affairs and goals of the

  Sweepstakes Casino Enterprise:

                 a.      The Gaming Defendants agreed to conduct the affairs of the Sweepstakes

         Casino Enterprise by developing, updating and operating illegal online slot machines and

         other unlawful games of chance: the "gambling devices." The Gaming Defendants operate

         as the principals, forming the necessary business partnerships with the App Defendants for

         the successful execution of their unlawful gambling scheme. The Gaming Defendants

         fundamentally rely on software application platforms provided by the App Defendants to

         host their games, access consumers, and collect revenue. Having had constructive notice




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         of the unlawful nature of the Gaming Defendants illegal gambling websites and apps, the

         App Defendants nevertheless agreed with all Enterprise participants to uphold their roles

         in the Sweepstakes Casino Enterprise, and to continue functioning as a single unit with the

         common purpose of facilitating the Gaming Defendants unlawful scheme by distributing

         their software and collecting unlawful debts from online gambling activity.

                 b.      The App Defendants agreed to conduct the affairs of the Sweepstakes

         Casino Enterprise by hosting the virtual social gambling applications, distributing the apps

         to consumer personal electronic devices and processing in-app transactions in exchange

         for a share in the gamblers' losses. Additionally, having had notice of the unlawful nature

         of the virtual social gambling applications, the App Defendants nevertheless agreed with

         all participants to uphold their roles in the Sweepstakes Casino Enterprise, and to continue

         functioning as a single unit with the common purpose of facilitating the Gaming

         Defendants' unlawful scheme, viz., by distributing their software and collecting unlawful

         debts from online gambling activity.

         121.    At all relevant times, each Sweepstakes Casino Enterprise participant was aware of

  the conduct of the Sweepstakes Casino Enterprise, was a knowing and willing participant in that

  conduct, and reaped profits from that conduct through the distribution of the Gaming Defendants'

  software and through in-app sales.

         122.    The persons engaged in the Sweepstakes Casino Enterprise are systematically

  linked through contractual relationships, financial ties, and continuing coordination of activities.

         123.    All members of the Sweepstakes Casino Enterprise coordinate and maintain their

  respective roles in order to enrich themselves and to further the common interests of the whole.

         124.    Each Sweepstakes Casino Enterprise participant participated in the operation and




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  management of the Sweepstakes Casino Enterprise by directing its affairs as described herein.

         125.    The wrongful conduct of the Sweepstakes Casino Enterprise has been and remains

  part of the Sweepstakes Casino Enterprise's ongoing way of doing business and constitutes a

  continuing threat to the Plaintiffs' and the Class's property. Without the repeated illegal acts and

  intentional coordination between all participants, the Sweepstakes Casino Enterprise's scheme

  would not have succeeded and would not pose a threat to Plaintiffs and the other members of the

  proposed class into the future.

  III. Pattern of Racketeering Activity

         126.    The affairs of the Sweepstakes Casino Enterprise were conducted in such a way as

  to form a pattern of racketeering activity. The Sweepstakes Casino Enterprise's general pattern of

  activity consists of designing and operating illegal, online slot machines and other games of chance

  and repeatedly violating public policy against gambling by:

                 a.   Developing illegal online slot machines and other games of chance and

                      disguising them as innocuous video game entertainment;

                 b.   Distributing and operating illegal online slot machines and other games of

                      chance that are, upon information and belief, rigged and manipulated;

                 c.   Concealing the scope and deceptive nature of their gambling applications

                      despite knowledge of their predatory design and business model;

                 d.   Providing a host platform to house unlicensed gambling activity;

                 e.   Injuring the public interest by continuously advertising to and soliciting the

                      general public to play illegal online slot machines and other games of chance;

                 f.   Conspiring to uphold the Sweepstakes Casino Enterprise; and

                 g.   Unjustly collecting unlawful debts and retaining the profits from their illegal




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                       gambling apps and websites.

            127.   The Sweepstakes Casino Enterprise has operated as a continuous unit since at least

  2018.

            128.   Pursuant to and in furtherance of their fraudulent scheme, the App Defendants

  committed multiple predicate act violations of New Jersey law as previously alleged herein,

  including violations of N.J.S.A. 2C:37-2a, inter alia.


                                  FOURTH CAUSE OF ACTION
                                          RICO § 1962(d)
                           Conspiracy to Engage in Racketeering Activities
                                  and Collection of Unlawful Debts
                                  (Damages and Injunctive Relief)

            129.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth

  herein.

            130.   18 U.S.C. § 1962(d) states that "[i]t shall be unlawful for any person to conspire to

  violate any of the provisions of subsection (a), (b), or (c) of this section."

            131.   As described throughout, and as described in detail in Plaintiffs' Third Cause of

  Action above, even if they did not direct or manage the affairs of the Sweepstakes Casino

  Enterprise, the App Defendants conspired to commit predicate acts in violation of § 1962(c),

  including violations of N.J.S.A. 2C:37-2, inter alia.

            132.   The App Defendants, APPLE, APPLE PAYMENTS, GOOGLE and GOOGLE

  PAYMENT CORP. acted at all times knowingly and willfully when agreeing to conduct the

  activities of the Sweepstakes Casino Enterprise. The App Defendants agreed to and indeed did

  participate in the requisite pattern of racketeering activity which constitutes this RICO claim,

  collected unlawful debts, engaged in racketeering activities, and intentionally acted in furtherance

  of the conspiracy by conducting the pattern of racketeering and unlawful debt collection as



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  described above.

         133.    At the very latest, the App Defendants had notice of the illegality of the

  Sweepstakes Casino Enterprise as of 2019. Their continuing participation in the Sweepstakes

  Casino Enterprise after that date demonstrates their commitment to upholding and operating the

  structure of the Sweepstakes Casino Enterprise.

         134.    As a result of the App Defendants' conduct, Plaintiffs and Members of the Class

  were deprived of money and property that they would not otherwise have lost.

         135.    Under 18 U.S.C. § 1964(c), the Class is entitled to treble their damages, plus

  interest, costs, and reasonable attorneys' fees.

                                       PRAYER FOR RELIEF

         Plaintiff Julian Bargo, individually and on behalf of all other similarly situated,

  respectfully requests that this Court enter an Order:

                 a. Certifying this case as a class action on behalf of the proposed class defined at

                     ¶ 72, supra; appointing Plaintiff as representative of the proposed class, and

                     appointing their counsel as class counsel;

                 b. Declaring that Defendants' conduct, as set out above, is unlawful under the

                     New Jersey CFA;

                 c. Declaring that Defendants' conduct, as set out above, constitutes racketeering

                     activities, collection of unlawful debts, and conspiracy to engage in the same;

                 d. Entering judgment against Defendants jointly and severally in the amount of

                     the losses suffered by Plaintiff and the members of the class;

                 e. Enjoining Defendants from continuing the challenged conduct;

                 f. Awarding damages to Plaintiffs and the Class members in an amount to be




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                    determined at trial, including trebling as appropriate;

                g. Awarding restitution to Plaintiffs and the members of the proposed class in an

                    amount to be determined at trial;

                h. Requiring disgorgement of all of Defendants' ill-gotten gains;

                i. Awarding reasonable attorneys' fees and expenses;

                j. Awarding pre- and post- judgment interest, to the extent allowable by law;

                k. Requiring injunctive and/or declaratory relief as necessary to protect the

                    interests of Plaintiffs and the proposed class; and

                l. Awarding such other and further relief as equity and justice require, including

                    all forms of relief provided for under N.J.S.A. 2A:40-1, the New Jersey CFA

                    and federal RICO statute or, in the alternative, as provided for by common

                    law.


                                    JURY TRIAL DEMANDED

        Plaintiffs request a trial by jury of all claims that can be so tried.

                             DESIGNATION OF TRIAL COUNSEL

        Justin A. Meyers, Esq., is designated as trial counsel for Defendants.


  Dated: Nov. 27, 2024                          By: /s/     Justin Meyers
                                                            Justin A. Meyers, Esq.

                                                By: /s/     Justin Meyers
                                                            G. Martin Meyers, Esq.

                                                LAW OFFICES OF G. MARTIN MEYERS, P.C.
                                                Attorneys for Plaintiffs




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                         CERTIFICATION PURSUANT TO RULE 5.2(a)

         I hereby certify that confidential personal identifiers have been redacted from documents

  now submitted to the court, and will be redacted from all documents submitted in the future in

  accordance with Fed. R. Civ. P. 5.2(a).


  Dated: Nov. 27, 2024                        By: /s/     Justin Meyers
                                                          Justin A. Meyers, Esq.

                                              By: /s/     Gary Meyers
                                                          G. Martin Meyers, Esq.

                                              LAW OFFICES OF G. MARTIN MEYERS, P.C.
                                              Attorneys for Plaintiffs




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